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 6                                    UNITED STATES DISTRICT COURT

 7                                    EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA,                         CASE NO. 1:13-cr-00294-LJO-SKO
 9
                         Plaintiff,                     ORDER DIRECTING
10                                                      CLERK TO RECONVEY PASSPORT
               v.
11
     SUPHAN SAISEE,
12
                         Defendant.
13

14
               Defendant, by and through undersigned counsel, hereby moves the court for an order
15

16   authorizing the Clerk of the United States District Court for the Eastern District of California to

17   reconvey Suphan Saisee’s Thailand Passport, #M848886, to Carol Moses, Attorney for Mr.

18   Saisee.
19
     Dated: May 18, 2015                                   Respectfully submitted,
20
21                                                         /s/ Carol Ann Moses
                                                           CAROL ANN MOSES
22                                                         Attorney for Defendant,
                                                           SUPHAN SAISEE
23
     IT IS SO ORDERED.
24
         Dated:      May 19, 2015                            /s/ Lawrence J. O’Neill
25                                                      UNITED STATES DISTRICT JUDGE
26
27

28
     [PROPOSED] ORDER DIRECTING
     CLERK TO RECONVEY PASSPORT
                                                                                                           1
